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                                Exhibit
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 1                      Mr Christopher Steele                   1                       Mr Christopher Steele
 2               CONFIDENTIAL - ATTORNEYS' EYES ONLY            2              W LEGAL LIMITED
                IN THE UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF FLORIDA                3              47 Red Lion Street
         ______________________________
 4                                      :                       4              London WC1R 4PF
         ALEKSEJ GUBAREV, XBT HOLDING : Case No:
 5       SA and WEBZILLA, INC           : 17-cv-60426-UU        5              United Kingdom
                                        :
 6                      Plaintiffs      :                       6              Telephone: 020 7220 9139
                                        :
 7                      -v-             :                       7              Email: steven.loble@wlegal.co.uk
                                        :
 8       BUZZFEED, INC and BEN SMITH    :                       8                       BY:   MR STEVEN LOBLE
                                        :
 9                      Defendants      :                       9
         ______________________________:
10                                                             10              W LEGAL LIMITED
11                      Videotaped deposition                  11              47 Red Lion Street
12                                   of                        12              London WC1R 4PF
13                      Mr Christopher Steele                  13              United Kingdom
14                                                             14              Telephone: 020 7220 9136
15                    On Monday, June 18th 2018                15              Email: sonalsachania@wlegal.co.uk
16                                                             16                       BY:   MS SONAL SACHANIA
17                      Commencing at 9.35 am                  17
18                                                             18              ONE ESSEX COURT
19                               Taken at:                     19              Temple
20                             15 Old Bailey                   20              London EC4Y 9AR
21                                London                       21              Telephone:     020 7583 2000
22                               EC4M 7EF                      22              Email: hbrown@oeclaw.co.uk
23                            United Kingdom                   23                       BY:   MS HANNAH BROWN QC
24                                                             24
25       Reported by: Miss Pamela Henley                       25


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 1                      Mr Christopher Steele                   1                       Mr Christopher Steele
 2                                                              2       On behalf of the Defendants:
 3                      A P P E A R A N C E S                   3              DAVIS WRIGHT TREMAINE LLP
 4                                                              4              1251 Avenue of the Americas
 5       On behalf of the Plaintiffs:                           5              New York, New York 10021
 6               CIAMPA FRAY-WITZER, LLP                        6              Telephone:     212 402 4068
 7               20 Park Plaza                                  7              Email: katebolger@dwt.com
 8               Suite 505                                      8                       BY:   MS KATHERINE M BOLGER
 9               Boston, MA 02116                               9
10               Telephone:     617 426 0000                   10              BLACK SREBNICK KORNSPAN STUMPF
11               Email: Evan@CRWLegal.Com                      11              201 S Biscayne Boulevard
12                      BY:     MR EVAN FRAY-WITZER            12              Suite 1300
13                                                             13              Miami, Florida 33131
14               BOSTON LAW GROUP, PC                          14              Telephone:     305 371 6421
15               825 Beacon Street                             15              Email: rblack@royblack.com
16               Suite 20                                      16                       BY:   MR ROY BLACK
17               Newton Centre, MA 02459                       17
18               Telephone:     617 928 1800                   18              MATRIX CHAMBERS
19               Email: vgurvits@bostonlawgroup.com            19              Griffin Building
20                      BY:     MR VAL GURVITS                 20              Gray's Inn
21                                                             21              London WC1R 5LN
22                                                             22              United Kingdom
23                                                             23              Telephone:     020 7404 3447
24                                                             24                       BY:   MR ALEX BAILIN QC
25                                                             25


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 1                       Mr Christopher Steele                     1                      Mr Christopher Steele
 2              Q.       And, again, just for the record,          2            Q.        And what efforts did you make to
 3     prior to receiving this unsolicited raw                     3    verify the allegations concerning Mr Gubarev?
 4     information had you ever heard of Aleksej Gubarev?          4            A.        The same.
 5                       MR MILLAR:     Same objections.           5            Q.        What did you learn about XBT?
 6              A.       Same answer.                              6            A.        From the open source search?
 7     BY MR FRAY-WITZER:                                          7            Q.        If that is what you are willing to
 8              Q.       You have stated that you have             8    tell us about.
 9     considered that the unsolicited raw intelligence            9            A.        We did not find anything of
10     needed to be further analyzed and verified, so             10    relevance on XBT from the open source search.
11     focussing your attention first on the time between         11            Q.        Did you find anything of relevance
12     when you received this information and when you            12    concerning Webzilla?
13     included it in the December memo what steps did            13            A.        We did.
14     you take to independently verify the allegations           14            Q.        And what was that?
15     concerning XBT?                                            15            A.        It is an article I have got here,
16                       MS EIKHOFF:     Object to form.          16    which is -- was posted on 28 July 2009, on
17              A.       Could you clarify what you mean by,      17    something called CNN iReport, which is -- I can
18     "independently verify"?                                    18    circulate it if you like.
19                       MR MILLAR:     I do not know what he     19            Q.        What do you understand iReports to
20     means.                                                     20    be on CNN?
21     BY MR FRAY-WITZER:                                         21            A.        I do not have any particular
22              Q.       Did you take any steps to verify         22    knowledge of that.
23     the information concerning XBT?                            23            Q.        Do you understand that they have no
24              A.       I did.                                   24    connection to any CNN reporters?
25              Q.       What steps were those?                   25            A.        I do not.


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 1                       Mr Christopher Steele                     1                      Mr Christopher Steele
 2              A.       I believe the only step I can             2            Q.        Do you understand that CNN iReports
 3     describe within the bounds of the order is what we          3    are or were nothing more than any random
 4     could call an open source search.                           4    individuals' assertions on the Internet?
 5              Q.       What is an open source search?            5                      MS EIKHOFF:     Object to form.
 6              A.       It is where you go into the               6                      MR MILLAR:    I do not -- it does not
 7     Internet and you access material that is available          7    have anything to do with his efforts to verify the
 8     on the Internet that is of relevance or reference           8    allegations.     He has explained what efforts he
 9     to the issue at hand or the person under                    9    made, which included open sourcing this article.
10     consideration.                                             10                      His understanding as to the status
11              Q.       So if I understand your testimony        11    of the media outlet concerned is not part of his
12     the extent of your attempts to verify information          12    efforts to verify.
13     about XBT is that you did some Internet searches           13                      THE EXAMINER:     US plaintiffs.
14     as to who or what XBT was, is that accurate?               14                      MR FRAY-WITZER:     It could not be
15              A.       It is not accurate.                      15    more relevant to this topic or this question.           It
16              Q.       Please tell how that is not              16    is probing the witness's understanding of the
17     accurate.                                                  17    search that he says that he himself did, and the
18              A.       It is not accurate because other         18    efforts that he himself says he made, and the
19     efforts to verify relate to sources or sources             19    things that he has told us that he has discovered.
20     and, therefore, are not allowed under the terms of         20                      THE EXAMINER:     US defendants?
21     the order.                                                 21                      MR BLACK:     We support the
22              Q.       What can you tell us about any           22    relevance of the question by the plaintiff.
23     efforts that you made to verify allegations                23                      THE EXAMINER:     My opinion is this
24     concerning Webzilla?                                       24    far it is within the topic.        The witness can
25              A.       The same.     So open source searches.   25    choose whether to answer or not.


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 1                      Mr Christopher Steele                     1                     Mr Christopher Steele
 2               A.     What was the question again,              2    contact Aleksej Gubarev?
 3     please?                                                    3               A.    No. And can I just add to that,
 4     BY MR FRAY-WITZER:                                         4    that that would not be standard practice in our
 5               Q.     Do you understand that CNN iReports       5    industry.
 6     are nothing more than any random person posting            6               Q.    Why would it not be standard
 7     things on the Internet?                                    7    practice?
 8                      MS EIKHOFF:   Objection.     Object to    8               A.    We are not journalists.    We are not
 9     form.                                                      9    seeking to publish information.      We are doing
10               A.     So I have got to answer?                 10    research, which is confidential for a client, in
11                      MR FRAY-WITZER:   You may.               11    general.
12               A.     No, I, obviously, presume that if        12               Q.    Would you want that information to
13     it is on a CNN site that it has some kind of CNN          13    be as accurate as possible?
14     status. Albeit that it may be an independent              14               A.    Of course.
15     person posting on the site.                               15               Q.    And so why would you not contact
16               Q.     Did you learn any information about      16    the subjects of the information you have been
17     Mr Gubarev?                                               17    given?
18               A.     From this?                               18               A.    It is not standard practice in our
19               Q.     No, I am separately asking if you        19    sector because of the exposure of sources,
20     learned anything --                                       20    potentially.    And, indeed, the confidentiality of
21               A.     Not from my open source search.          21    enquiries made by clients.
22               Q.     -- without telling us what the           22                     Unlike in journalism, for example,
23     information was, did you learn any information            23    where I do believe it is standard practice to put
24     about Mr Gubarev from any other source?                   24    allegations to a subject.
25               A.     We are talking about the period          25               Q.    In the same time period we have


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 1                      Mr Christopher Steele                     1                     Mr Christopher Steele
 2     between the receipt of the intelligence and the            2    been discussing did you conduct any research to
 3     issuing of the report, are we?                             3    determine whether there had been attempts by
 4               Q.     And the issuance of the December          4    anyone to:
 5     memo, correct.                                             5                     "...use botnets and porn traffic to
 6               A.     Not in that period.                       6    transit viruses, plant bugs, steal data and
 7               Q.     In that period, without telling us        7    conduct 'altering operations' against the
 8     what the information is, did you learn any other           8    Democratic Party leadership."?
 9     information about XBT?                                     9                     MR MILLAR:    I object to that on the
10               A.     No.                                      10    basis that it is not one of the allegations
11               Q.     And, again, within that same             11    against the US plaintiffs pleaded in the American
12     period, and other than the iReport article that           12    proceedings.
13     you have identified, did you learn any other              13                     The -- we went through this with
14     information about Webzilla and, again, just "yes"         14    the original order the US plaintiffs sought to
15     or "no", not the content of any information?              15    have made, which was included more generally, the
16               A.     Not in that period.                      16    steps Mr Steele took to obtain information for the
17               Q.     Between the time that you received       17    dossier beyond the specific factual allegations
18     the unsolicited information and the time that you         18    about the US plaintiffs.      That was item 4 in the
19     included it in the December memo did you make any         19    original list of 9th November. That was struck
20     attempts to contact anyone at XBT?                        20    out.
21               A.     No.                                      21                     And the purpose of the confining of
22               Q.     Did make any attempts to contact         22    topic A to the allegations in paragraph 3 was to
23     anyone at Webzilla?                                       23    confine questioning about efforts to verify to the
24               A.     No.                                      24    specific allegations about these US plaintiffs
25               Q.     Did you make any attempts to             25    that were at issue in the proceedings there in


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